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 8                                 UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    DEYANA JENKINS, et al.,                           No. 2:19-cv-1896 TLN DB
12                       Plaintiffs,
13           v.                                         ORDER
14    CITY OF VALLEJO, et al.,
15                       Defendants.
16

17          On November 3, 2023, plaintiffs filed a motion to compel and noticed the motion for

18   hearing before the undersigned pursuant to Local Rule 302(c)(1). (ECF No. 45.) On November

19   22, 2023, the parties filed a Joint Statement re Discovery Dispute pursuant to Local Rule 251.

20   (ECF No. 46.) Therein, the parties disagreed as to whether they had met and conferred after

21   defendants made their most recent document production. (Id. at 2, 3-4.)

22          Accordingly, on December 5, 2023, the undersigned issued an order continuing the

23   hearing of plaintiffs’ motion to January 12, 2024. (ECF No 47 at 2.) The parties were also

24   ordered to meet and confer on or before December 22, 2023, and to withdraw the motion to

25   compel or file an updated Joint Statement on or before December 29, 2023. (Id.)

26          On December 29, 2023, plaintiffs filed their portion of the Joint Statement. (ECF No. 48.)

27   Therein plaintiffs’ counsel asserts to having “made numerous efforts to contact Defendant’s

28   Counsel in order to submit a joint statement” but received no response. (Id. at 2.) Plaintiffs’
                                                       1
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 1   counsel has submitted evidence in support of this assertion. (ECF No. 48-2 at 6-10.) Defendants

 2   have filed nothing in response to either the undersigned’s December 5, 2023 order or the

 3   representations made in the December 29, 2023 filing by plaintiffs’ counsel.

 4            Accordingly, IT IS HEREBY ORDERED that:

 5            1. The January 12, 2024 hearing of plaintiffs’ motion to compel (ECF No. 45) is

 6   continued to February 9, 2024, at 10:00 a.m. at the United States District Court, 501 I Street,

 7   Sacramento, California, in Courtroom No. 27 before the undersigned in person;

 8            2. Within fourteen days of the date of this order counsel for defendants shall show cause

 9   in writing as to why counsel should not be sanctioned for their conduct, and

10            3. On or before February 2, 2024, the parties shall file either a withdrawal of the motion

11   to compel or an updated Joint Statement re Discovery Disagreement that complies with the Local

12   Rules and the undersigned’s Standard Information.1

13   Dated: January 5, 2024
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      In the event the parties file an updated Joint Statement the undersigned will consider defense
28   counsel’s efforts as reflected in that updated Joint Statement in determining the appropriate
     sanction for defense counsel.
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